Case 1:17-cr-00015-LG-RHW   Document 100   Filed 06/22/17   Page 1 of 7
Case 1:17-cr-00015-LG-RHW   Document 100   Filed 06/22/17   Page 2 of 7
Case 1:17-cr-00015-LG-RHW   Document 100   Filed 06/22/17   Page 3 of 7
Case 1:17-cr-00015-LG-RHW   Document 100   Filed 06/22/17   Page 4 of 7
Case 1:17-cr-00015-LG-RHW   Document 100   Filed 06/22/17   Page 5 of 7
Case 1:17-cr-00015-LG-RHW   Document 100   Filed 06/22/17   Page 6 of 7
Case 1:17-cr-00015-LG-RHW   Document 100   Filed 06/22/17   Page 7 of 7
